Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 1 of 10 PageID #: 43002



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

                                                   §
   SEMCON IP INC.,                                 § Case No. 2:16-CV-00437-JRG-RSP
                                                   § (LEAD CASE)
                         Plaintiff,                §
                                                   §
              v.                                   §
                                                   § JURY TRIAL DEMANDED
   HUAWEI DEVICE USA INC., ET AL.,                 §
                                                   §
                         Defendants.               §

                                                   §
   SEMCON IP INC.,                                 § Case No. 2:16-CV-00441-JRG-RSP
                                                   § (CONSOLIDATED CASE)
                         Plaintiff,                §
                                                   § JURY TRIAL DEMANDED
              v.                                   §
                                                   §
   ZTE CORPORATION, ET AL.,                        §
                                                   §
                         Defendants.               §


               JOINT NOTICE OF CERTAIN AGREEMENTS REGARDING
              MOTIONS IN LIMINE FILED BY PLAINTIFF SEMCON IP INC.
                AND DEFENDANTS ZTE (USA), INC. AND ZTE (TX), INC.

          Plaintiff Semcon IP Inc. (“Semcon” or “Plaintiff”) and Defendants ZTE (USA), Inc. and

   ZTE (TX), Inc. (collectively, “ZTE” or “Defendants”) respectfully give notice that they have

   reached agreement regarding the following motions in limine. The parties’ agreement on these

   motions in limine is reflected in the agreed language below:

      1. Agreement Resolving Semcon’s Motion in Limine No. 1:

          ZTE shall not make derogatory references regarding Non-Practicing Entities. However,

   factual evidence on the nature of these companies’ business models and non-derogatory

   statements (i.e., the term Non-Practicing Entity and that such an entity does not make any
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 2 of 10 PageID #: 43003



   products or practice the asserted patents) are not excluded to the extent relevant to the parties’

   claims or defenses.

        2. Agreement Resolving Semcon’s Motion in Limine No. 2:

           The parties shall not make derogatory references regarding the Patent and Trademark

   Office (“PTO”) (e.g., that the PTO examiners are unqualified or incompetent). However, non-

   derogatory statements (e.g., that sometimes the PTO makes mistakes and that it is the jury’s job

   to decide validity at trial) are not excluded to the extent relevant to the parties’ claims or

   defenses.

        3. Agreement Resolving Semcon’s Motion in Limine No. 3:

           The parties shall not reference the Court’s reasoning or statements from the claim

   construction order.

        4. Agreement Resolving Semcon’s Motion in Limine No. 4:


           ZTE shall not reference pending inter partes review proceedings, provided that Semcon

   does not open the door. Reference to the inter partes reexamination of the ’061 patent does not

   constitute opening the door.

        5. Agreement Resolving Semcon’s Motion in Limine No. 6:

           ZTE shall not introduce testimony, evidence, or argument related to litigation funding.

   However, the parties’ agreement does not preclude inquiry into any testifying witness’s own

   financial interests in this litigation.

   6.      Agreement Resolving Semcon’s Motion in Limine No. 8 and ZTE’s Motion in
           Limine No. 7 In-Part:

           ZTE shall not introduce testimony, evidence, or argument related to Semcon’s finances,

   or the finances of its parent company, predecessors-in-interest, or related entities, including their

   net worth, accumulated debt, market capitalization, or stock value. Semcon shall not introduce


                                                      2
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 3 of 10 PageID #: 43004



   testimony, evidence, or argument related to ZTE’s overall size, market power, overall financial

   status, net worth, market capitalization, or stock value.

       7. Agreement Resolving Semcon’s Motion in Limine No. 9:

           ZTE shall not introduce evidence that United Wireless financed the acquisition of the

   Asserted Patents.

       8. Agreement Resolving Semcon’s Motion in Limine No. 14 and ZTE’s Motion in
          Limine No. 5:

           The parties shall not introduce evidence of discovery disputes, deficiencies, or discovery

   obligations. This agreement does not prevent any party from arguing that the opposing party has

   failed to provide sufficient evidence to meet its burden of proof on any claim, defense, or cause

   of action.

       9. Agreement Resolving Semcon’s Motion in Limine No. 17:

           ZTE shall not reference Semcon’s election of patent claims to streamline this litigation by

   dropping patents or patent claims. Semcon shall not reference ZTE’s election of prior art to

   streamline this litigation. Each party shall not to use the opposing party’s efforts to streamline

   this litigation in an offensive manner.

       10. Agreement Resolving Semcon’s Motion in Limine No. 18:

           ZTE shall not argue that Plaintiff engaged in “forum shopping,” “litigation abuse,” or that

   this District is a popular venue for patent holders.

       11. Agreement Resolving Semcon’s Motion in Limine No. 20:

           The parties shall not reference whether an expert has been excluded in a prior case.

   However, this agreement does not prevent prior expert testimony from being used for

   impeachment.




                                                     3
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 4 of 10 PageID #: 43005



      12. Agreement Resolving Semcon’s Motion in Limine No. 21:

          For any witness appearing live at trial, the parties agree not to introduce testimony via

   deposition designation, except for purposes of impeachment.

      13. Agreement Resolving ZTE’s Motion in Limine No. 1:

          Semcon shall not present infringement evidence related to the documents bearing the

   “HUASC bates labels that were not produced to ZTE.

      14. Agreement Resolving ZTE’s Motion in Limine No. 3 in-Part:

          Pursuant to the Court’s Order (Dkt. 547), Semcon shall not argue or present evidence at

   trial concerning the following products: Nubia 5, Director, Overture 2, Speed, Concord II, Sonata

   4G, Reef, ZTE Grand S/V988, Overture, Z998, Unico LTE, Source, Boost Max, Boost Warp,

   Imperial, Axon Pro, Force, Axon, Grand S Pro, Optik, Paragon, Lever, Cricket Engage

   LT/Engage, ZTE Fury, Warp/Warp Sequent, Anthem 4G, Avid 4G, Sprint Flash, Boost Max+,

   ZTE Zephyr, ZTE Warp Elite, ZTE Vital, ZTE Virgin Mobile Awe, ZTE Rapido LTE, Cricket

   Groove, Trek 2, ZTE Quest, Touch Screen Control, Cricket Engage, Citrine LTE, Atrium,

   Maven 2, ZMAX2, Max Duo LTE. ZTE maintains that this motion remains disputed in part, as

   ZTE contends that the ZTE Savvy should also not be referenced at trial for the same reasons

   articulated in the Court’s order on ZTE’s motion to strike (Dkt. No. 547).

      15. Agreement Resolving ZTE’s Motion in Limine No. 4:

          Semcon shall not argue or present evidence that ZTE failed to obtain advice of counsel

   regarding non-infringement or invalidity.

      16. Agreement Resolving ZTE’s Motion in Limine No. 3 in-Part:

          Semcon shall not make derogatory references regarding Chinese, Taiwanese, or Asian

   companies, people, or products due to nationality or ethnicity. However, factual evidence on the

   geographical origin of Defendants’ companies or products is not excluded to the extent relevant


                                                    4
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 5 of 10 PageID #: 43006



   to the parties’ claims or defenses. ZTE maintains that this motion remains disputed in part, as it

   contends that the geographical origin of its witnesses or its products’ manufacture is not relevant

   to any claim or defense in this action.

       17. Agreement Resolving ZTE’s Motion in Limine No. 8:

           Semcon shall not suggest that the Reexamination alters the clear and convincing standard

   for proving invalidity or strengthens the presumption of validity for the ’061 patent. The parties

   shall be permitted to offer testimony, evidence, and argument referencing statements made

   during the Inter Partes Reexamination for the ’061 patent to the extent relevant to the parties’

   claims or defenses.

       18. Agreement Resolving ZTE’s Motion in Limine No. 9 in-Part:

           Semcon shall not present evidence or argument related to any criminal proceedings

   against ZTE Corporation for violating export control sanctions against Iran. This motion

   remains disputed in part, as the parties have not resolved whether reference to these proceedings

   against ZTE Corporation is improper impeachment subject matter for any witness who has been

   identified to testify at trial.

       19. Agreement Resolving ZTE’s Motion in Limine No. 10:

           Semcon shall not reference communications or agreements between joint defendants.

   This agreement shall not preclude the parties from referencing agreements, communications, or

   dealings between ZTE and its supplier Qualcomm.

       20. Agreement Resolving ZTE’s Motion in Limine No. 11:

           Semcon shall not introduce evidence or argument regarding any of ZTE’s witnesses’

   decision to testify in his or her native Chinese language.




                                                    5
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 6 of 10 PageID #: 43007



      21. Agreement Resolving ZTE’s Motion in Limine No. 12:

          Semcon shall not introduce any evidence or argument regarding (1) direct infringement

   by ZTE of the Asserted Method Claims, (2) induced or contributory infringement by ZTE of the

   Asserted Claims prior to the filing date of the Complaint, (3) willful infringement of the Patents-

   in-Suit, or (4) infringement of any of the Asserted Claims under doctrine of equivalence.

   Dated: March 16, 2018                                Respectfully submitted,

                                                        BROWN RUDNICK LLP

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                                                    6
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 7 of 10 PageID #: 43008



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                                         7
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 8 of 10 PageID #: 43009



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                                             SEMCON IP INC.



   Dated: March 16, 2018                     PILLSBURY WINTHROP SHAW
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                                         8
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 9 of 10 PageID #: 43010



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                                         9
Case 2:16-cv-00437-JRG-RSP Document 613 Filed 03/16/18 Page 10 of 10 PageID #:
                                  43011


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on March 16, 2018, all counsel of record who are

 deemed to have consented to electronic service are being served with a copy of this document via

 the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                             /s/ Alfred R. Fabricant
                                                Alfred R. Fabricant
